Case 9:21-mc-81113-WPD Document 1 Entered on FLSD Docket 06/23/2021 Page 1 of 11




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                WEST PALM BEACH DIVISION

  CREATIVE CHOICE HOMES XXXI, LLC f/k/a
  Creative Choice Homes XXXI, Inc.,

         Plaintiff,
                                                        Case No.: 9:21-cv-81113
  v.

  MG AFFORDABLE MASTER, LLC,
  MG GTC MIDDLE TIER I, LLC,
  MG GTC FUND I, LLC,

        Defendants.
  ____________________________________/


                                     EXPEDITED MOTION

       NON-PARTIES’ NAIMISHA CONSTRUCTION, INC’S AND NB FLORIDA
   HOLDINGS, LLLP’S MOTION TO QUASH SUBPOENAS OR IN THE ALTERNATIVE
                         FOR PROTECTIVE ORDER

         Non-Parties, Naimisha Construction, Inc. (“NCI”) and NB Florida Holdings, LLLP

  (“NBFL”) (together referred to as the “Non-Parties”) respectfully move this Court to quash the

  attached subpoenas for depositions, or, in the alternative, for a protective order prohibiting the

  unilaterally scheduled depositions of the Non-Parties from taking place.

         I.      EXPEDITED RULING REQUESTED

         The discovery deadline in the above-captioned case, which is pending in the Middle

  District of Florida (Case No.: 8:19-cv-01910-TPB-AAS) is June 30, 2021 [DE 83]. On June 9,

  2021, Defendants unilaterally noticed the 30(b)(6) depositions for the Non-Parties. The Defendants

  unilaterally noticed the deposition of NCI to take place on June 24, 2021. See EXHIBIT A. The

  NCI subpoena was served on the undersigned as registered agent for NCI on June 10, 2021. See

  EXHIBIT B. The Defendants unilaterally noticed the deposition for NBFL to take place on June

                                                  1
Case 9:21-mc-81113-WPD Document 1 Entered on FLSD Docket 06/23/2021 Page 2 of 11




  28, 2021. See EXHIBIT C. The NBFL subpoena was served on the undersigned as registered

  agent on June 10, 2021. See EXHIBIT D. Despite attempts to confer with Defendants about the

  depositions, Defendants currently intend on moving forward with same. This is despite the fact

  that the depositions were unilaterally scheduled and besides the fact that other depositions in the

  case were set by the Defendants for the same days. See EXHIBIT E, Subpoena for Deposition of

  Baker Tilly which was also scheduled by the Defendants, unilaterally, for June 24, 2021. See

  EXHIBIT F, Subpoena for Deposition of Impro Synergies, LLC, which was scheduled for June

  28, 2021, at 9:00 A.M., the same day and time as the unilaterally scheduled deposition of NBFL.

         Therefore, the Non-Parties respectfully request that the Court prohibit the unilaterally

  noticed 30(b)(6) deposition of the Non-Parties from occurring as scheduled. This motion is

  designated as an expedited motion due to the unilaterally noticed deposition dates quickly

  approaching and recent conferences with Defendants being unproductive. To the extent a ruling

  cannot be made on an expedited basis, the Non-Parties respectfully request a temporary stay of the

  unilaterally noticed 30(b)(6) depositions of the Non-Parties pending resolution of this motion. The

  Non-Parties acknowledge that it will be very difficult, if not impossible, for the Court to rule before

  the scheduled deposition of NCI, however, the Non-Parties were not able to file this Motion any

  sooner due to the fact that all counsels for the various parties in this case were not able to meet

  and confer until June 22, 2021. That is because the month of June was packed with depositions in

  this case which were properly scheduled before discovery cutoff, including, the deposition of

  Christie Kroeger on June 17, the deposition of Rick Fussell on June 18, the deposition of Mary

  Stoddard on June 21, and the deposition of Nicolo Pinoli on June 22.




                                                    2
Case 9:21-mc-81113-WPD Document 1 Entered on FLSD Docket 06/23/2021 Page 3 of 11




  II.        FACTUAL AND PROCEDURAL BACKGROUND

             A.       Factual Background

             This case involves a dispute between the partners of Creative Choice Homes XXXI, Ltd.

  (the “Partnership”), which owns and operates an affordable housing project in Tampa, Florida (the

  “Project”). A copy of the Plaintiff’s Complaint is attached hereto as EXHIBIT G1. The Partnership

  is governed by an Amended and Restated Agreement of Limited Partnership, dated January 1,

  2007 (the “Partnership Agreement”), and was formed and is operated pursuant to the Low-Income

  Housing Tax Credit (“LIHTC”) program, as promulgated under Section 42 of the Internal Revenue

  Code. See 26 U.S.C. § 42.

             Plaintiff, Creative Choice Homes XXXI, LLC is the Partnership’s general partner,

  (“CCH”) and Defendants are the Partnership’s limited partners. As the general partner, CCH is

  responsible for, and oversees, the overall management and operations of the Partnership, and

  ensures the Project remains in tax credit compliance for federal tax credits and provides safe and

  affordable housing to qualified tenants with below area median income.

             Not until April 2019 did Defendants suddenly began expressing “concerns” to CCH about

  its management of the Partnership and ability to carry out its duties and obligations as general

  partner. The Defendants transmitted correspondence to CCH in May and June 2019 declaring

  material defaults of the Partnership and their intent to remove CCH as the general partner. In

  summary, the Defendants contend CCH breached the Partnership Agreement for the following:

  misuse of Partnership funds; issuance of distributions “out of order” pursuant to the Partnership

  Agreement’s waterfall provision; and failure to timely provide audited financial statements. CCH



  1   Exhibits thereto were removed for purposes of efficiency.


                                                             3
Case 9:21-mc-81113-WPD Document 1 Entered on FLSD Docket 06/23/2021 Page 4 of 11




  contends it investigated and cured the alleged defaults, which are immaterial, including through

  the transmission of checks accepted and cashed by Defendants. Defendants nevertheless

  maintained that CCH materially breached the Partnership Agreement.

             In pertinent part, the Defendants contended that CCH made inappropriate distributions to

  affiliates of CCH, including NCI. This was expressly set forth in the “Notice Of Default” letter

  sent by the Defendants to Plaintiff, on May 3, 2019. See EXHIBIT H. These alleged improper

  distributions formed the basis for the Defendants attempted removal of Plaintiff as general partner

  from the Partnership. See EXHIBIT I, “Notice of Removal.” It is also the basis for the Defendants’

  counterclaim against the Plaintiff in this action. See EXHIBIT J, Defendants’ “Answer,

  Affirmative Defenses, and Counterclaims2” at ¶23. Defendants knew of NCI’s existence from at

  least May 3, 2019, before the lawsuit was filed.

             With regard to NBFL, on May 28, 2021, Defendants took the deposition of non-party

  Tiffany Williams, an employee of IMPRO SYNERGIES, LLC, the management company for the

  Property. Ms. Williams testified that certain properties within the Creative Choice portfolio would

  sometimes distribute monies to NBFL, which would then loan those funds to properties in need of

  funding. See EXHIBIT K. Dep. Tr. Tiffany Williams (May 28, 2021) 117:22-25, 118-122. Ms.

  Williams did not testify that the Partnership in question in this lawsuit ever transferred any money

  to NBFL. She testified that certain properties within the Creative Choice portfolio transferred

  monies to NBFL and that same was recorded in the general ledgers and would be evidenced by

  the checks written from the various properties. Defendants have been provided with all financial

  records pertaining to the Partnership in question for the relevant time period set forth in the

  pleadings, including, but not limited to, audited financials, general ledgers, and bank records. None



  2
      Exhibits thereto were removed for purposes of efficiency.


                                                             4
Case 9:21-mc-81113-WPD Document 1 Entered on FLSD Docket 06/23/2021 Page 5 of 11




  of the documents show that any monies were ever transferred from the Partnership to NBFL. The

  record is completely devoid of any such evidence. Despite that undisputable fact, the Defendants

  sought to depose NBFL at the eleventh hour.

             B.       Procedural History

             On July 5, 2019, CCH brought this action against the Defendants in the 13th Judicial

  Circuit in and for Hillsborough County, Florida, alleging that Defendants had no right to remove

  CCH as the general partner under the Partnership Agreement. Defendants removed the action to

  the District Court for the Middle District of Florida and asserted largely duplicative counterclaims

  against CCH seeking its removal as general partner based on the same grounds summarized above.

             C.       Depositions

             The Middle District Court entered a case management scheduling order but later extended

  the discovery deadline on various occasions. The Court most recently extended the discovery

  deadline to June 30, 2021 following the unexpected death of CCH’s principal corporate

  representative. [DE 83, See EXHIBIT L3.]

             Following the entry of the extended discovery deadline, the parties and counsels

  coordinated and set numerous depositions of the parties, their various employees, and the retained

  experts. These depositions took place or will take place on May 27, May 28, June 7, June 8, June

  17, June 18, June 21, June 22, June 23, June 25, June 29, and June 30. Despite having worked with

  all counsels involved in the scheduling of a dozen depositions, Defendants opted, at the eleventh

  hour, to unilaterally notice the deposition of NCI to take place on June 24 and to unilaterally notice

  the deposition of NBFL to take place on June 28. There was absolutely no effort made, whatsoever,

  to coordinate these depositions with the undersigned, who also represents the Plaintiff in this



  3
      The caption of the Order is incorrect. This is the caption of the companion case.


                                                               5
Case 9:21-mc-81113-WPD Document 1 Entered on FLSD Docket 06/23/2021 Page 6 of 11




  lawsuit, nor was any effort made to coordinate these depositions with any other co-counsels for

  the Plaintiff in this case.

          Counsel for the parties were not able to confer until a telephone conference was held during

  the late afternoon on June 22, 2021. On the phone conference, counsel for the parties discussed

  the potential for rescheduling the depositions to mutually agreeable dates. However, as of the filing

  of this motion, Defendants have not consented to withdrawing the unilaterally noticed depositions,

  therefore necessitating this motion to address the imminent dispute.

  III.    STANDARD

          Pursuant to Rule 45, a court may quash, modify or specify conditions for responding to a

  subpoena. Fed. R. Civ. P. 45(d)(3). The power to quash a subpoena rests with the District Court in

  which compliance was required, which may or may not be the court that issued the subpoena.

  Narcoossee Acquisitions, LLC v. Kohl’s Dep’t Stores, Inc., No. 6:14-CV-203-ORL-41TBS, 2014

  WL 4279073, at *1 (M.D. Fla. Aug. 28, 2014) (quoting Fed. R. Civ. P. 45(d)(1), (d)(3), (g)).

  Compliance is required within 100 miles from where the person resides, is employed, or regularly

  transacts business. Fed. R. Civ. P. 45(c)(1)(A)4.

          The Middle District discovery guidelines require that all depositions, whether of parties or

  non-parties, be coordinated with the schedules of opposing counsel, parties, and witnesses. The

  guidelines require the attorneys seeking the depositions to reasonably attempt to accommodate the

  schedules of all involved, including opposing counsel, the parties, and the witnesses themselves.

  See, e.g., § I(A)(3). See EXHIBIT M. The failure to comply with the requirement that scheduling

  of all depositions be coordinated warrants quashing a non-party subpoena. PHL Variable

  Insurance Company v. Bank of Utah, 2013 WL 12156106 at *2 (M.D. Fla. 2013).


  4
    The Non-Parties are based on Palm Beach Gardens and regularly transact business there. The persons who will sit
  for the depositions are residents of Palm Beach County.


                                                         6
Case 9:21-mc-81113-WPD Document 1 Entered on FLSD Docket 06/23/2021 Page 7 of 11




         Federal Rule of Civil Procedure 26(c) allows a court to “issue an order to protect a party

  or person from annoyance, embarrassment, oppression, or undue burden or expense” upon good

  cause shown. Fed. R. Civ. P. 26(c)(1). The Court may use these rules to prohibit or limit deposition

  testimony. Fed. R. Civ. P. 26(c)(1)(A), (c)(1)(D).

         To determine whether good cause is shown, the Court must balance the interests of the

  party seeking the discovery against those of the party seeking to prevent it. Farnsworth v. Procter

  & Gamble Co., 758 F.2d 1545, 1547 (11th Cir. 1985). “In evaluating whether a party has satisfied

  the burden of ‘good cause,’ ‘a court should balance the non-moving party’s interest in obtaining

  discovery and preparing for trial against the moving party’s proffer of harm that would result from

  the discovery.’” Ventron Mgmt., LLC v. Tokio Marine Speciality Ins. Co., No. 20-cv-80262, 2020

  WL 8614606, at *2 (S.D. Fla. Dec. 21, 2020) (citing Farnsworth, 758 F.2d at 1547).

  IV.    ARGUMENT

         The Non-Parties respectfully request that the Court prohibit the unilaterally noticed

  30(b)(6) depositions from occurring. First, Defendants unilaterally noticed the depositions to

  occur. This Court does “not tolerate the practice of counsel unilaterally setting depositions.” Zurich

  Am. Ins. Co. v. European Tile & Floors, Inc., No. 8:16-cv-729-T-33AAS, 2017 WL 638640, at *1

  n.1 (M.D. Fla. Feb. 16, 2017); see also Simpson v. GC Servs., L.P., No. 3:12-cv-588-J-32MCR,

  2012 WL 5866589, at *1 (M.D. Fla. Nov. 19, 2012) (granting motion for protective order

  concerning unilaterally set deposition of a party); see also, PHL Variable Insurance Company v.

  Bank of Utah, 2013 WL 12156106 at *2 (M.D. Fla. 2013) (quashing a non-party subpoena due to

  failure to coordinate the deposition with counsels involved). Indeed, the Middle District of Florida

  Civil Discovery Handbook discourages such practice. See Middle District of Florida Civil




                                                    7
Case 9:21-mc-81113-WPD Document 1 Entered on FLSD Docket 06/23/2021 Page 8 of 11




  Discovery Handbook § I(A)(3) (“An attorney shall reasonably attempt to accommodate the

  schedules of opposing counsel, parties, and witnesses in scheduling discovery.”).

         Second, the undersigned has not had an adequate opportunity to prepare witnesses for the

  depositions given the fact that the Defendants also scheduled other depositions to take place on

  the same days as the Non-Parties’ depositions and due to the fact that the undersigned has been

  preparing Plaintiffs’ witnesses (arguably the most important in this case), Yashpal Kakkar and

  Dilip Barot, for their upcoming depositions. As stated above, the Defendants also unilaterally

  noticed the deposition of non-party Baker Tilly to take place on June 24, and the deposition of

  IMPRO SYNERGIES, to take place on June 28, at the same time as the deposition of NBFL. The

  Non-Parties respectfully submit that they cannot adequately prepare the corporate representatives

  for their obligations given (i) the unilateral nature of the noticed deposition, and (ii) the parties’

  existing schedule of other depositions in this matter. See Continental Cas. Co. v. First Fin.

  Employee Leasing, Inc., 716 F. Supp. 2d 1176, 1189 (M.D. Fla. 2010) (explaining that an entity’s

  “duty to present and prepare a Rule 30(b)(6) designee goes beyond matters personally known to

  that designee” and includes matters “reasonably available, whether from documents, past

  employees, or other sources”).

         Thirdly, with regard to NBFL, there is no basis for a deposition of NBFL to take place at

  all. The Defendants’ request to depose NBFL is not proportional to the needs of the case. Fed. R.

  Civ. P. 26(b)(1). As stated above, Defendants’ desire to depose NBFL based on a baseless notion

  that NBFL received monies from the Partnership. This never happened. The Defendants have

  possessed all of the accounting documents for the Partnership for the relevant time period,

  including, but not limited to, bank records, audited financials, and general ledgers, but cannot show

  one single instance of monies being transferred to NBFL. Tiffany Williams did not testify that the




                                                    8
Case 9:21-mc-81113-WPD Document 1 Entered on FLSD Docket 06/23/2021 Page 9 of 11




  Partnership at issue ever transferred monies to NBFL. Her testimony was that other properties

  within the Creative Choice portfolio transferred monies to NBFL. If any such transfers ever took

  place as to the Partnership at issue in this case, the financial records produced would show them.

  See EXHIBIT K. Dep. Tr. Tiffany Williams (May 28, 2021) 117:22-25, 118-122. Thus, additional

  good cause exists to issue a protective order as to the deposition of NBFL.

         The Non-Parties are mindful and understanding of the imminent June 30 discovery

  deadline, but respectfully submits that Defendants cannot use a discovery deadline to justify the

  unilateral setting—and stacking—of depositions under the circumstances described herein.

  Weighing the interests present (or lack thereof), good cause exists for a protective order. The Non-

  Parties therefore respectfully request that the Court (i) prohibit the unilaterally noticed 30(b)(6)

  deposition of the Non-Parties from going forward.

         WHEREFORE, Non-Parties, Naimisha Construction, Inc., and NB Florida Holdings,

  LLLP, respectfully request the Court’s issuance of protective order concerning the unilaterally

  scheduled depositions. To the extent a ruling cannot be made on an expedited basis, Non-Parties,

  Naimisha Construction, Inc., and NB Florida Holdings, LLLP respectfully requests a temporary

  stay of the unilaterally noticed 30(b)(6) depositions pending resolution of this motion.

                                     Local Rule 7.3 Certification

         Counsel hereby certifies that it conferred with counsel for the Defendants in a good faith

  effort to resolve the issues raised by this motion, but the parties did not agree on the resolution of

  the motion. The conference occurred by telephone conference on June 22, 2021.




                                                    9
Case 9:21-mc-81113-WPD Document 1 Entered on FLSD Docket 06/23/2021 Page 10 of 11




           DATED this 23rd day of June, 2021.

                                                   SUNDARSINGH LAW, P.L.

                                                   /s/ Mandell Sundarsingh
                                                   Mandell Sundarsingh, Esquire
                                                   Sundarsingh Law, P.L.
                                                   1400 Centrepark Blvd., Suite 603
                                                   West Palm Beach, FL 33401
                                                   (561) 475-2295 telephone
                                                   (561) 584-7634 facsimile
                                                   FL Bar No.: 57562
                                                   Primary Email: mandell@creativelaw.net
                                                   Secondary Email: paralegal@creativelaw.net
                                                   Attorneys for NCI

                                     CERTIFICATE OF SERVICE

            I hereby certify that on June 23, 2021, I served a copy of the foregoing document via email
   to all parties/attorneys on the list to receive service/notice in this case, including but not limited to
   the following:

   Eve A. Cann, Esq.                                       Steve Griffith, Esq.
   Desislava Docheva, Esq.                                 Laura Carlilse, Esq.
   BAKER, DONELSON, BEARMAN,                               BAKER, DONELSON, BEARMAN,
   CALDWELL & BERKOWITZ, PC                                CALDWELL & BERKOWITZ, PC
   100 S.E. Third Avenue, Suite 1620                       201 St. Charles Ave., Suite 3600
   Fort Lauderdale, Florida 33394                          New Orleans, LA 70170
   ecann@bakerdonelson.com                                 sgriffith@bakerdonelson.com
   FLLService@bakerdonelson.com                            lcarlilse@bakerdonelson.com

   Zachary J. Bancroft, Esq.                               Scott A. McLaren, Esq.
   SunTrust Center                                         A. Evan Dix, Esq.
   200 South Orange Avenue, Suite 2900                     HILL WARD HENDERSON, P.A.
   Post Office Box 1549                                    101 E. Kennedy Blvd., Suite 3700
   Orlando, Florida 32802-1549                             Tampa, FL 33602
   zbancroft@bakerdonelson.com                             scott.mclaren@hwhlaw.com
   bkcts@bakerdonelson.com                                 evan.dix@hwhlaw.com
   sdenny@bakerdonelson.com




                                                      10
Case 9:21-mc-81113-WPD Document 1 Entered on FLSD Docket 06/23/2021 Page 11 of 11




   David A. Davenport, Esq.
   Sean M. Zaroogian, Esq.
   Justin Jenkins, Esq.
   BC DAVENPORT, LLC
   801 S. Marquette Ave., Suite 200
   Minneapolis, MN 55402
   dave@bcdavenport.com
   sean@bcdavenport.com
   justin@bcdavenport.com




                                       11
